Case 1:12-cr-20696-CMA Document 337 Entered on FLSD Docket 11/30/2017 Page 1 of 2



                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA

                           Case No. 17-23159-Civ-COOKE/WHITE
                                   (12-20696-Cr-COOKE)

 FRANTZ PIERRE,

        Movant,

 vs.

 UNITED STATES OF AMERICA,

       Respondent.
 _______________________________/
                ORDER ADOPTING REPORT OF MAGISTRATE JUDGE
        THIS MATTER was referred to the Honorable Patrick A. White, United States
 Magistrate Judge, pursuant to 28 U.S.C. §636(b)(1)(B), Rules 8 and 10 of the Rules Governing
 Section 2255 Cases in the United States District Courts, and Administrative Order 2003-19 of
 this Court, for a ruling on all pre-trial, non-dispositive matters and for a Report and
 Recommendation on any dispositive matters (ECF No. 2). On August 24, 2017, Judge White
 issued a Report of Magistrate Judge (ECF No. 5) recommending that the motion to vacate be
 dismissed as time-barred and that no certificate of appealability be issued. Movant filed
 Objections to Judge White’s Report on September 6, 2017.
        I have considered Judge White’s Report and the relevant legal authorities, and
 conducted a de novo review of the record. I find Judge White’s Report clear, cogent, and
 compelling.
        It is therefore ORDERED and ADJUDGED that Judge White’s Report of Magistrate
 Judge (ECF No. 5) is AFFIRMED and ADOPTED. Accordingly, the Motion to Vacate
 Sentence (ECF No. 1) is DENIED. The Clerk is directed to CLOSE this case.
        It is FURTHER ORDERED and ADJUDGED that Petitioner has not demonstrated
 that “jurists of reason could disagree with the district court's resolution of his constitutional
 claims or that jurists could conclude the issues presented are adequate to deserve
 encouragement to proceed further.” Miller-El v. Cockrell, 537 U.S. 322, 326 (2003); accord Lott v.
 Attorney Gen., Fla., 594 F.3d 1296, 1301 (11th Cir. 2010) (explaining that a “petitioner need not
 show he will ultimately succeed on appeal” in order to warrant a certificate of appealability).
Case 1:12-cr-20696-CMA Document 337 Entered on FLSD Docket 11/30/2017 Page 2 of 2



 Accordingly, this Court DENIES a Certificate of Appealability in this case.
         DONE and ORDERED in chambers, at Miami, Florida, this 30th day of November
 2017.




 Copies furnished to:
 Patrick A. White, U.S. Magistrate Judge
 Frantz Pierre, pro se
 Counsel of record
